              UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR PRESIDENT, INC.   No. 4:20-cv-02078-MWB
et. al,
                    Plaintiffs,
    v.
KATHY BOOCKVAR, in her capacity as
Secretary of the Commonwealth of
Pennsylvania; et. al,

             Defendants.




           PLAINTIFFS’ OMNIBUS OPPOSITION TO
MOTIONS TO DISMISS THE FIRST AMENDED COMPLAINT (ECF 125)




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           PLAINTIFFS’ OMNIBUS OPPOSITION TO
MOTIONS TO DISMISS THE FIRST AMENDED COMPLAINT (ECF 125)1

                                     INTRODUCTION

       Defendants purposefully violated the Constitution by unequally and

improperly processing hundreds of thousands of mail ballots under the cover of

darkness in an illegal scheme to favor Joseph Biden over President Donald J. Trump,

knowing that mail votes in the Counties at issue would favor Biden. In short,

Defendants, including Pennsylvania’s Secretary of the Commonwealth, appointed

by a Democrat governor, and seven Democrat controlled County Boards of Elections

violated Pennsylvania law with the purpose of influencing the election in favor of

Biden over Trump. Government conduct designed to favor one candidate over the

other – which conduct also contravenes state law – violates the Due Process and

Equal Protection clauses under Reynolds v. Sims, 377 U.S. 533 (1964), and Marks v.

Stinson, 19 F.3d 873 (3d Cir. 1994).

       Defendants treated millions of mail-in voters differently depending on their

geographic location and whom the voters were likely to support, and counted untold

thousands of ballots that unambiguously fail to meet the mail ballot-security


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  This Omnibus response addresses the following Motions to Dismiss (“MTD”) the First Amended
Complaint: Secretary Boockvar MTD (ECF 143); DNC MTD (ECF 105, 144, 145); Centre and Delaware
County Boards of Elections MTD (ECF 136); Allegheny County Board of Elections, Chester County Board
of Elections, Montgomery County Board of Elections, and Philadelphia County Board of Elections (ECF
138); Northampton County Board of Elections (ECF 141); NAACP-PA State Conference Black Political
Empowerment Project, Common Cause Pennsylvania, League of Women Voters of Pennsylvania, Ayeni,
Gajda, Higgins, Lara, Morales, Price, Stevens, and Stover (ECF 95, 142, 161).

                                                1
requirements set forth by the Pennsylvania legislature. In addition, Defendants

purposefully excluded Plaintiffs from meaningfully observing significant portions

of this election, hindering Plaintiffs’ ability to independently quantify how many

thousands of invalid ballots were counted.                   Just yesterday, the Pennsylvania

Supreme Court ruled there is no right to meaningfully observe the canvassing of mail

ballots. If this decision is correct, the Pennsylvania mail ballot voting system is so

porous that it violates Due Process. Of course, under Bush v. Gore, 531 U.S. 98

(2000), this Court need not accept the Pennsylvania Supreme Court’s interpretation

of state law on an issue which impacts a presidential election. Moreover, this

decision represents a vast departure from Pennsylvania precedent, a change in law

in the middle of a presidential election which is also improper under Bush v. Gore.

        Due to confusion caused by the withdrawal of Plaintiffs’ lead counsel on

Friday,2 November 13, the Amended Complaint filed on November 15 inadvertently

withdrew numerous allegations contained in the original Complaint regarding the

preclusion of observers at the canvassing of mail votes and the subsequent improper

counting of mail votes in the seven Defendant County Boards of Election.

Moreover, with the appearance of new counsel, former Mayor Rudy Giuliani and

the Scaringi Firm, and new factual developments, the Campaign intends to file a


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  As reported in the media, former counsel suffered threats of violence as well as economic reprisal for
representing President Trump. Other counsel remaining in this case also received threats and is under the
protection of U.S. Marshalls. Needless to say, this proved disruptive.

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second amended complaint to make clear that there was intentional misconduct by

the Defendant Boards of Election, which deliberately excluded Republican/Trump

observers from the canvassing in order to facilitate counting mail ballots which did

not comport with the signature, date, and other requirements of Pennsylvania law.

The Democrats who controlled these Boards knew that these ballots would favor

Biden over Trump, based on the registration of the mail voters, as well as through

their knowledge that the Biden campaign’s strategy was mail ballots, and the Trump

campaign’s strategy was voting at the polls.       The Defendants knew that this

deliberate conduct would favor Biden over Trump, a clear violation of Equal

Protection and Due Process under Reynolds and Marks v. Stinson. In order to assist

the Court, Plaintiffs are fully briefing the renewed motions to dismiss, albeit they

intend to stand on the proposed Second Amended Complaint, not the Amended

Complaint currently at issue.

      Contemporaneously with this Opposition, Plaintiffs are filing a Second

Motion for Expedited Discovery to obtain, inter alia, access to the outside and inside

envelopes for the approximately 1.5 million mail ballots at issue – all public records

– in the Defendant Counties, or, alternatively, a significant random sample from each

county. In accord with Marks v. Stinson, Plaintiffs will examine these envelopes to

determine the percentage of mail ballots which were illegally counted – of which

Biden won approximately 75% and Trump 25%, a 50% margin for Biden. Plaintiffs,


                                          3
through statistical expert analysis will then extrapolate this percent to the 1.5 million

mail ballots. This simple exercise will determine whether Plaintiffs can prove their

case – that sufficient illegal ballots were counted that changed the result of the

election.3 If so, the Court should set aside these votes and declare Trump the

winner.4

                                               FACTS

        After Plaintiffs were purposefully excluded from observing key aspects of the

2020 General Election in Pennsylvania and obtained publicly available evidence of

unequal and illegal counting of votes by Defendants, Plaintiffs filed this action on

Monday, November 9, 2020. Pennsylvania law mandates that mail-in ballots meet

detailed requirements. See 25 Pa. Stat. Ann. § 3150.16. These include putting each

ballot in an inner secrecy envelope, which “shall then be placed in the second

[envelope], on which is printed the form of declaration of the elector, and the address

of the elector’s county board of election and the local election district of the elector.

The elector shall then fill out, date and sign the declaration printed on such envelope.

Such envelope shall then be securely sealed and the elector shall send same by mail,

postage prepaid, except where franked, or deliver it in person to said county board


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  For example, if 10% of the 1.5 million mail ballots were improperly counted because they lacked
signatures, dates, or inside security envelopes, 75% x 150,000 votes should be deducted from Biden, and
25% x 150,000 votes should be deducted from Trump, a margin of 75,000 votes for Biden which would be
sufficient to overturn reported results.
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 At a minimum, the Court should order the above discovery. If the evidence is insufficient, Plaintiffs may
withdraw their case, which would avoid the burden on this Court of deciding numerous legal issues.

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of election.” Id. After officials receive the mail-in ballots, the law requires them to

“safely keep the ballots in sealed or locked containers until they are to be canvassed

by the county board of elections.” 25 Pa. Stat. Ann. § 3146.8(a). Election officials

may “pre-canvass” ballots “no earlier than seven o’clock A.M. on election day,” but

“[n]o person observing, attending or participating in a precanvass meeting may

disclose the results of any portion of any pre-canvass meeting prior to the close of

the polls.” 25 Pa. Stat. Ann. § 3146.8(g)(1.1). As a precaution, “[w]atchers shall be

permitted to be present when the envelopes containing official absentee ballots and

mail-in ballots are opened and when such ballots are counted and recorded.” 25 Pa.

Stat. Ann. § 3146.8(b). Together, these provisions ensure that: (i) mail-in ballots are

not manipulated, tampered with, or inspected until election day; (ii) no one can open

or count ballots without a poll watcher present; and (iii) even if someone pre-

canvasses a ballot on election day, no one can be told “the results” of that pre-

canvass until polls close.

      Secretary Boockvar has advocated state officials should count more mail

ballots than the law allows to favor Democrats. For instance, on September 28, 2020,

she issued guidance to the County Boards of Elections that mail-in and absentee

ballots returned without inner secrecy envelopes should be counted. See Guidance

Concerning Civilian Absentee and Mail-in Ballot Procedures, 9/28/2020, Boockvar

Dep. Ex. 11. That guidance directly contradicted the mandatory language in


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Pennsylvania’s Election Code, which is why the Pennsylvania Supreme Court struck

it down. See Pa. Democratic Party, 238 A.3d 345 (“[T]he Legislature intended for

the secrecy envelope provision to be mandatory.”). But Secretary Boockvar was not

deterred. Despite the clear commands of the Election Code, she and the other

Defendants systematically disregarded key ballot integrity and security measures

associated with mail-in votes. Specifically, the Philadelphia County Elections Board

issued a “Cancelled Ballot Notification” providing that voters whose ballots were

cancelled (including those “returned without a signature on the declaration

envelope” or “determined to lack a secrecy envelope”), would receive notice before

Election Day. Am. Compl. ¶133; Web Archive, Cancelled Ballot Notification

Information, Philadelphia City Commissions (Nov 1, 2020). This involved

inspecting the ballots before Election Day, disclosing the results of that inspection

before Election Day, and allowing voters to cure their defective ballot. Complaint

¶¶ 133-34. All of this was illegal and was done without allowing poll watchers

access. The Defendant County Boards of Elections nonetheless permitted it. Id. ¶

136.

       As the Complaint details, poll watchers in Allegheny, Centre, Philadelphia,

Delaware, and other Counties were not allowed to observe as ballots were reviewed

for sufficiency, opened, counted, or recorded. Complaint ¶¶ 140-43, 150.

Sometimes, this was because no poll watchers were permitted at all. Other times poll


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watchers were permitted for only some periods, or were required to stand so far away

that they could not tell which ballots were improperly counted. County boards have

continued ignoring Pennsylvania law, and some have just days ago voted to count

thousands of ballots with incomplete addresses, no signature, and other deficiencies.

See Meeting of the Commissioners of Elections (Nov. 9, 2020) (Philadelphia County

voted to count many thousands with no date, street address, or printed name);

Election Day Updates (Nov. 12, 2020) (Allegheny County voted to count thousands

of undated ballots); In Re: Canvass of Absentee and Mail-in Ballots of November 3,

2020 General Election, ¶¶ 22-23 (Bucks County voted to count ballots with no date

and others with no printed name or address, a mismatched address, or other errors).

                      SUMMARY OF THE ARGUMENT

      Defendants purposefully violated the Constitution by unequally and

improperly processing hundreds of thousands of mail ballots under the cover of

darkness in an illegal purposeful scheme to favor Biden and other democrat

candidates over Trump and Republican candidates, knowing that mail votes would

favor the Democrats. In short, Defendants violated Pennsylvania law with the

purpose of influencing the election in favor of Biden and other Democrats. This is

not permitted under Reynolds and Marks v. Stinson, binding 3d Circuit precedent.

      Defendants treated millions of mail-in voters differently depending on their

geographic location, and counted untold thousands of ballots that unambiguously


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fail to meet the ballot-security requirements set forth by the Pennsylvania legislature.

In addition, Defendants have purposefully excluded Plaintiffs from meaningfully

observing significant portions of this election, hindering Plaintiffs’ ability to

independently quantify how many thousands of invalid ballots were counted. All of

this merits an injunction and serious judicial scrutiny of Defendants’ actions.

                                         ARGUMENT5

I.     PLAINTIFFS HAVE STATED ENOUGH FACTS TO STATE A
       PLAUSIBLE CLAIM CONTRARY TO ARGUMENTS BY
       DEFENDANTS BOOCKVAR, DNC, AND COUNTIES ELECTION
       BOARDS

       A.      Plaintiffs Have Alleged Specific Harm And Grievances Contrary
               To Arguments

       A complaint is not “require[d] [to have a] heightened fact pleading of

specifics, but only enough facts to state a claim to relief that is plausible on its face.”

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007) (“[f]actual allegations must be

enough to raise a right to relief above the speculative level.”). Plaintiffs alleged

specific, non-speculative harm.

       First, the Amended Complaint explains how the cure disparity and the

Defendant counties’ insistence upon counting illegal ballots disparately favored

Democratic-leaning counties over Republican-leaning counties, causing harm to the

Trump Campaign by depriving the President of lawful votes and awarding his


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  All emphases are added, and citations, quotation marks, footnotes, and brackets are omitted, unless
otherwise stated.

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opponent with unlawful votes. See Am. Compl. ¶¶ 6, 131, 158.

      Second, the Amended Complaint explains how the Defendant counties’

treatment of voters differently than voters in other counties causing harm to Plaintiffs

Roberts and Henry in that their votes were not counted, while those in Defendant

Counties were. See Am. Compl. ¶¶ 6, 130, 158.

      Defendants’ reliance is misplaced on Donald J. Trump for President, Inc. v.

Boockvar, 2020 U.S. Dist. LEXIS 1883902020 (W.D. Pa. Oct. 10, 2020). Unlike

this case, “[that] case [was] well past the pleading stage,” “[e]xtensive fact and

expert discovery [was] complete,” and “[n]early 300 exhibits [were] submitted on

cross-motions for summary judgment ….” Id., at *105.

      B.     Defendants’ Conduct Violated Due Process

      Defendants’ conduct designed to exclude Republican/Trump observers as part

of a scheme to count deficient mail ballots in order to favor Biden over Trump was

grossly and patently unfair and violated substantive due process protected by the 14th

Amendment. Donald J. Trump for President, 2020 U.S. Dist. LEXIS 188390, at

*157-58 (“substantive due process rights are violated if the election process itself

reaches the point of patent and fundamental unfairness”).

      While, “[a] canvass of substantive due process cases related to voting rights

reveals that voters can challenge a state election procedure in federal court only in

limited circumstances, such as when the complained of conduct discriminates


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against a discrete group of voters, … or when the willful and illegal conduct of

election officials results in fraudulently obtained or fundamentally unfair voting

results.” Donald J. Trump for President, 2020 U.S. Dist. LEXIS 188390, at *158-

59. Here, as in Marks v. Stinson, we have the “limited circumstance” of government

officials discriminating against Republican voters and their willful conduct leading

to fundamentally unfair voting results.

        Defendants ineffectively attempt to capitalize on courts “draw[ing] a

distinction between 'garden variety' election irregularities and a pervasive error that

undermines the integrity of the vote.”6 Id. at *158-59. However, “either an

intentional election fraud or an unintentional error resulting in broad-gauge

unfairness” are the types of “election error[s]” that “become[] a key that unlocks the

restraints on the federal court’s authority to act” to protect due process rights. Id.

Plaintiffs have alleged unfairness and requested that this Court act to protect their

due process rights.

        C.       Defendants’ Procedural Objections Lack Merit

                 1.      Plaintiffs Have Standing7

        Plaintiff Trump Campaign brings this action for itself and on behalf of its



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 See Boockvar MTD (ECF 143), at 2, 21, 34 (“garden variety” disputes and irregularities); DNC MTD
(ECF 144), at 23 (“garden variety election irregularities”).
7
  “In reviewing [Defendants’] facial attack” on Plaintiffs’ standing, the Court must consider the facts “in the
light most favorable to the plaintiff” and “constru[e] the alleged facts in favor of the non-moving party.”
Constitution Party of Pa. v. Aichele, 757 F.3d 347, 358 (3d Cir. 2014).

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candidate, President Trump. As a political committee for a federal candidate, the

Trump Campaign has Article III standing to bring this action. See, e.g., Orloski v.

Davis, 564 F. Supp. 526, 530-31 (M.D. Pa. 1983) (“Democratic State Committee

ha[s] standing to raise [constitutional] claim”). See also Tex. Democratic Party v.

Benkiser, 459 F.3d 582, 587-588 (5th Cir. 2006) (“[A]fter the primary election, a

candidate steps into the shoes of his party, and their interests are identical.”); In re

General Election- 1985, 531 A.2d 836, 838 (Pa. Commw. Ct. 1987) (A candidate

for office in the election at issue suffers a direct and substantial harm sufficient for

standing to contest the manner in which an election will be conducted).

      First, as in Marks v. Stinson, Plaintiff Trump Campaign has “competitive

standing” based upon disparate state action leading to the “potential loss of an

election.” Drake v. Obama, 664 F.3d 774, 783 (9th Cir. 2011) (“the ‘potential loss of

an election’ was an injury-in-fact sufficient to give a local candidate and Republican

party officials standing.”) “[O]verwhelming precedent” holds “that a candidate and

his or her party can show an injury-in-fact if the defendant’s actions harm the

candidate’s chances of winning.” Nelson v. Warner, 2020 WL 4582414, at *4

(S.D.W. Va. Aug. 10, 2020). See also Pavek v. Donald J. Trump for President, Inc.,

967 F.3d 905, 907 (8th Cir. 2020); Green Party of Tenn. v. Hargett, 767 F.3d 533,

538 (6th Cir. 2014); Tex. Democratic Party v. Benkiser, 459 F.3d 582, 587–88 (5th

Cir. 2006); Fulani v. Hogsett, 917 F.2d 1028, 1030 (7th Cir. 1990); Schulz v.


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Williams, 44 F.3d 48, 53 (2d Cir. 1994).

        The other Plaintiffs (Roberts and Henry), as qualified electors, registered

voters and injured parties, also have Article III standing to bring this action. See

Orloski, 564 F. Supp. at 530; Pierce, 324 F. Supp. 2d at 692-93. Each has been

injured in a way that concretely impacted their rights under the Fourteenth

Amendment Due Process Clause; the Fourteenth Amendment Equal Protection

Clause of the Constitution of the United States.

        “‘[V]oters who allege facts showing disadvantage to themselves as

individuals have standing to sue’ to remedy that disadvantage.” Gill v. Whitford,

138 S. Ct. 1916, 1929 (2018). “The key inquiry for standing is whether the alleged

violation of the right to vote arises from an invidious classification—including …

‘place of residence within a State,’—to which the plaintiff is subject and in which

‘the favored group has full voting strength and the groups not in favor have their

votes discounted.’” Bognet, 2020 WL 6686120, at *13-14 (quoting Reynolds, 377

U.S. at 555, 561 & n.29).8 Moreover, “voters who allege facts showing disadvantage

to themselves” have standing to remedy that disadvantage if they are “part of a group

of voters whose votes will be weighed differently compared to another group.” Id.

        Second, Plaintiff Henry makes precisely that allegation. Henry is a “qualified



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 Plaintiffs believe Bognet was wrongly decided and maintain their Electors Clause claim to preserve it for
appellate review.

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registered elector residing in West Hempfield Township, Lancaster County,

Pennsylvania.” Am. Compl. ¶ 15. He specifically alleges:

      While counties like Defendant County Boards of Elections permitted
      voters to cast either replacement absentee and mail-in ballots before
      Election Day or provisional ballots on Election Day in order to cure
      their defective mail-in ballots, many more counties are not. Lancaster
      … for example, did not contact voters who submitted defective ballots
      or give them an opportunity to cure. They simply followed the law and
      treated these ballots as invalid and refused to count them.

Am. Compl. ¶ 130. Thus “two voters could each have cast a mail-in ballot before

Election Day at the same time, yet perhaps only one of their ballots” would be

counted because it was cast in a jurisdiction that allowed for cure. Bognet, 2020 WL

6686120, at *13-14.

      This is a judicially cognizable injury under the Equal Protection Clause. The

Clause imposes a “minimum requirement for nonarbitrary treatment of voters” and

forbids voting systems and practices that distribute resources in “standardless”

fashion, without “specific rules designed to ensure uniform treatment.” Bush v.

Gore, 531 U.S. 98, 105–07 (2000); see also League of Women Voters of Ohio v.

Brunner, 548 F.3d 463, 477-78 (6th Cir. 2008) (“[T]he use of standardless manual

recounts violates the Equal Protection Clause.”) Secretary Boockvar allowed some

counties to ignore the State’s uniform cure procedures, while others adhered to the

law. The resulting haphazard cure process treated Pennsylvania voters, including

Henry, differently solely based on their county of residence. See Bush, 531 U.S. at


                                        13
107 (finding Equal Protection violation when “each of the counties used varying

standards to determine what was a legal vote”). Pennsylvania’s election thus violated

the “clear and strong command of our Constitution’s Equal Protection Clause” that

“voters cannot be classified, constitutionally, on the basis of where they live.”

Reynolds, 377 U.S at 560, 568.

      The Amended Complaint explains how the cure disparity and Defendant

counties’ insistence upon counting illegal ballots disparately favored Democratic-

leaning counties over Republican-leaning counties. See Am. Compl. ¶¶ 6, 131, 158.

Under Bush v. Gore, presidential candidates have an interest in having lawful votes

counted and unlawful votes invalidated. This is particularly true in Pennsylvania, a

few swing state where the vote margin is close. While Defendants breathlessly elide

the merits, Plaintiffs have unquestionably suffered constitutionally redressable

injury.

             2.    Plaintiffs’ Claims Are Not Barred By Claim And Issue
                   Preclusion Contrary To Arguments By Defendant
                   Northampton County Board of Elections

      Contrary to Defendant Northampton County Board of Elections, Plaintiffs’

claims are not barred by claim or issue preclusion. Plaintiffs have not litigated the

same issues in Pa. Democratic Party v. Boockvar, 238 A.3d 345 (2020) and Donald

Trump For President, 2020 U.S. Dist. LEXIS 188390. Defendat has not remotely

met its burden to show claim or issue preclusion applies.


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        For claim preclusion to apply, under federal law, there must be: “(1) a final

judgment on the merits in a prior suit involving (2) the same parties or their privies

and (3) a subsequent suit based on the same causes of action.” Arab African Int’l

Bank v. Epstein, 10 F.3d 168, 171 (3d Cir. 1993). Pennsylvania law, requires “the

concurrence of four conditions between the present and prior actions: (1) identity of

issues; (2) identity of causes of action; (3) identity of parties or their privies; and (4)

identity of the quality or capacity of the parties suing or being sued.” Radakovich v.

Radakovich, 846 A.2d 709, 715 (Pa. Super. Ct. 2004).9 Claim preclusion under

federal law is “substantially the same as in Pennsylvania.” Regscan, Inc. v. Brewer,

2006 WL 401852, *5 n.2 (E.D. Pa. Feb. 17, 2006); see id. (explaining the neat

overlap).

        For issue preclusion to apply, under federal and Pennsylvania law, the party

seeking to invoke issue has the burden to show: “(1) the identical issue was decided

in prior adjudication; (2) there was a final judgment on the merits; (3) the party

against whom the bar is asserted was a party or in privity with a party to the prior

adjudication; and (4) the party against whom the bar is asserted had a full and fair

opportunity to litigate the issue in question.” Alevras, 226 F. App’x at 227–28; see


9
  When a federal court considers whether a cause of action is precluded by earlier state-law litigation, it
invokes state-law principles of preclusion, and then gives that determination full faith and credit under
federal law. See Spinola v. Coles, 697 F. Supp. 895, 896 (W.D. Pa. 1988) (citing Kremer v Chem. Const.
Co., 456 U.S. 461 (1982)). Thus, the Court should apply state law to the extent Defendant argues Plaintiffs’
claims are precluded by earlier state litigation, and federal law to the extent Defendant asserts preclusion
on the basis of prior federal litigation. See Alevras v. Tacopina, 226 F. App’x 222, 227 (3d Cir. 2007).

                                                    15
Office of Disciplinary Counsel v. Kiesewetter, 889 A.2d 47, 50–51 (Pa. 2005) (listing

the same four elements, plus the additional element that “the determination in the

prior proceeding was essential to the judgment”). Northampton has not remotely

met this burden.

      First, Plaintiffs were not parties to the state litigation. See Order Granting in

Part Applications for Intervention, Pa. Democratic Party v. Boockvar, No. 133 MM

2020 (Pa. Sep. 3, 2020) (per curiam minute order) (denying Donald J. Trump for

President, Inc.’s motion to intervene). Accordingly, there is no preclusion based

upon the state case. See Alevras v. Tacopina, 226 F. App’x 222, 227-28 (3d Cir.

2007); see Kiesewetter, 889 A.2d at 50-51; Epstein, 10 F.3d at 171; Radakovich,

846 A.2d at 715.

      Second, Plaintiffs’ equal protection challenge to the counting of illegal ballots

and the cure process in this case was never raised, litigated, or decided. See Pa.

Democratic Party, 2020 WL 5997680, at *1 (identifying the three claims at issue in

the case as relating to drop boxes for mail-in ballots, signature matching, and the

residency requirement for poll watchers). Indeed, Plaintiffs could not have raised

such claims in that litigation because Plaintiffs’ claim did not ripen until Defendants

announced the cure process (shortly before election day), several counties decided

not to implement the cure process (on election day itself), and different counties

applied opposing standards for whether to count technically deficient ballots (on and


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after election day). Accordingly, Plaintiffs’ claims are not barred by the federal case.

See Epstein, 10 F.3d at 171; Mullarkey, 536 F.3d at 225; Alevras, 226 F. App’x at

227-28.

             3.     Abstention Is Inappropriate In This Case Contrary To
                    Arguments By Defendants Boockvar, DNC and the County
                    Election Boards

                    a.     Abstention under Younger is inapplicable in this case
                           contrary to arguments by Counties Election Boards

      This case does not warrant abstention under Younger v. Harris, 401 U.S. 37

(1971). “A federal court will only consider Younger abstention when the requested

equitable relief would constitute federal interference in state judicial or quasi-

judicial proceedings.” Marks v. Stinson, 19 F.3d 873, 882 (3d Cir. 1994) (citing

Middlesex County Ethics Comm. v. Garden State Bar Ass’n, 457 U.S. 423, 431

(1982); Huffman v. Pursue, 420 U.S. 592, 599-600 (1975)).

      First, “abstention is appropriate in a few carefully defined situations.” Marks,

19 F.3d at 885 (“The district court did not err in refusing to abstain [under the

Younger doctrine].”). This case is not one where abstention is appropriate. A

“proponent of abstention must show (1) there are ongoing state proceedings

involving the would-be federal plaintiffs that are judicial in nature, (2) the state

proceedings implicate important state interests, and (3) the state proceedings afford

an opportunity to raise the federal claims.” Marks, 19 F.3d at 882. Here, defendants

have failed to show these three elements.

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      Second, even if defendants could show all three elements, “such a showing

does not require that the federal court abstain.” Marks, 19 F.3d at 882. “Where

federal proceedings parallel but do not interfere with the state proceedings, the

principles of comity underlying Younger abstention are not implicated.” Id. Here,

federal proceedings do not interfere with any state proceedings, and thus the Younger

abstention is not warranted.

      Third, a “federal plaintiff may pursue parallel actions in the state and federal

courts so long as the plaintiff does not seek in the federal court that would interfere

with the state judicial process.” Marks, 19 F.3d at 885. “[A] person with a federal

Civil Rights Act claim has no duty to exhaust state remedies before pursuing his or

her claim in the federal courts.” Id., at 882 (citing Patsy v. Bd. of Regents, 457 U.S.

496 (1982)). “In the absence of a showing of some potential for interference with an

ongoing state proceeding, Younger principles do not bar a Civil Rights Act plaintiff

from going forward in a federal forum merely because there are unexhausted

possibilities for state litigation over the same subject matter.”         Id. at 882.

“Exhaustion of appellate remedies is required by Younger only when the federal

proceedings seek effectively to annul the state judgment.” Id. at 883 (citing Wooley

v. Maynard, 430 U.S. 705 (1977)).

      “This is not a case in which the federal plaintiffs are seeking relief which will

in any way impair the ability of the state courts in Pennsylvania to adjudicate


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anything that is currently before them.” Id. at 884 (noting that “plaintiffs were

simply pursuing parallel tracks seeking consistent relief in the federal and state

systems”) (citing Kentucky West Virginia Gas Co. v. Penn. Pub. Util. Comm’n, 791

F.2d 1111, 1117 (3d Cir. 1986)):

      In the typical Younger case, the federal plaintiff is a defendant in
      ongoing or threatened state court proceedings seeking to enjoin
      continuation of those state court proceedings…. In this case, on the
      other hand, the federal plaintiffs ... are also the state plaintiffs.
      Moreover, they are not seeking to enjoin any state judicial proceeding;
      instead, they simply desire to litigate what is admittedly a federal
      question in federal court, having agreed to dismiss their pending state
      court appeal if the district court assumes jurisdiction over the merits of
      their complaint….

      Under the circumstances, then, we believe that the balance of state and
      federal interests tips decidedly away from abstention under Younger….

Id. at 885 (citing 791 F.2d at 769). See also Marran v. Marran, 376 F.3d 143, 155

(3d Cir. 2004) (“When there are no pending state proceedings, Younger abstention

is inappropriate.”).

                       b.   Abstention under Pullman is not warranted in this
                            case contrary to arguments by Defendants Boockvar,
                            DNC, and Counties Election Boards

      This case does not warrant abstention under Railroad Comm’n v. Pullman

Co., 312 U.S. 496 (1941). “In the main, federal courts are obliged to decide cases

within the scope of federal jurisdiction.” Sprint Commcns., Inc. v. Jacobs, 571 U.S.

69, 72 (2013). “Pullman abstention ‘is an extraordinary and narrow exception to the

duty of a District Court to adjudicate a controversy properly before it [which] can be

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justified ... only in exceptional circumstances.’” Artway v. Attorney Gen. of State of

N.J., 81 F.3d 1235, 1270 (3d Cir. 1996) (quoting Colorado River Water

Conservation Dist. v. U.S., 424 U.S. 800, 813 (1976)). A court can abstain under

Pullman only if it finds “(1) that uncertain issues of state law underlie the federal

constitutional claims brought in the district court; (2) that the state law issues are

amenable to a state court interpretation that would obviate the need for, or

substantially narrow, adjudication of the federal claim; and (3) that important state

policies would be disrupted through a federal court’s erroneous construction of state

law.” Id. All three requirements are missing here.

      First, no issues of state law underlie Plaintiffs’ equal protection claim;

Defendants’ unequal treatment of voters violates the federal constitution whether or

not that treatment also violates state law.

      Second, even if Plaintiffs’ equal protection claim implicated a determinative

question of state law, that question is not “uncertain” nor “obviously susceptible of

a limiting construction” that would avoid the federal questions. Zwicklerv. Koota, 389

U.S. 241, 251 n.14 (1967). The Pennsylvania Supreme Court—the ultimate authority

on Pennsylvania law—already decided the relevant questions; it held that the

decision to provide a cure process is one for the legislature and that the legislature

decided not to provide one. See Pa. Democratic Party, 238 A.3d at 374. And

Pennsylvania law is clear that mail and absentee ballot envelopes must meet certain


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legal requirements. See 25 Pa. Stat. Ann. § 3150.16.

      Third, no Defendant seriously maintains that Pennsylvania has an important

state policy interest in applying lenient ballot-counting rules in Democratic counties

and exacting standards in Republican ones.

      Even if all three Pullman factors were met, this Court retains discretion to

adjudicate the issue. It should do so. The deadline for finalizing election results is

imminent, so sending the case to state court “would impose expense and long delay

upon the litigants without hope of its bearing fruit.” Koota, 389 U.S. at 251. With

such a short period of time to redress serious federal questions, there is no basis for

this Court to abstain from its “virtually unflagging” “obligation to adjudicate claims

within [its] jurisdiction.” New Orleans Pub. Serv., Inc. v. Council of City of New

Orleans, 491 U.S. 350, 359 (1989).

                    c.    Abstention under Colorado River is not permissible in
                          this case contrary to arguments by Defendant
                          Boockvar

      The Colorado River abstention “permits a federal court to decline the exercise

of jurisdiction in very limited circumstances,” but “the United States Supreme Court

has vehemently emphasized ‘the virtually unflagging obligation of the federal

courts to exercise the jurisdiction given them.” Terra Nova Ins. Co. v. 900 Bar, Inc.,

887 F.2d 1213, 1222 (3d Cir. 1989) (quoting Colorado River, 424 U.S. at 817).

“This obligation is especially imperative in a civil-rights action … arising under 42


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U.S.C. 1983, which offers a uniquely federal remedy for vindication of individual

rights violated under color of state law.” Kenworthy v. Hargrove, 826 F.Supp.2d

138, (E.D.Pa. 1993) (citing Ivy Club v. Edwards, 943 F.2d 270, 277 (3d Cir. 1991)).

“Abstention under Colorado River, therefore, requires the clearest of justifications

and is only permitted in exceptional circumstances, with the balance heavily

weighted in favor of the exercise of jurisdiction.” Id. at 140 (holding defendant

“failed to demonstrate the requisite ‘exceptional circumstances’ to justify abstention

under Colorado River”) (citing Maryland v. Peat Marwick Main & Co., 923 F.2d

265, 276 (3d Cir. 1991)).10 The doctrine of primary jurisdiction:

        [A]pplies where a claim is originally cognizable in the courts, and
        comes into play whenever enforcement of the claim requires the
        resolution of issues which, under a regulatory scheme, have been placed
        within the special competence of an administrative body; in such a case
        the judicial process is suspended pending referral of such issues to the
        administrative body for its views.

Baykeeper v. NL Industr., Inc., 660 F.3d 686, 691 (3d Cir. 2011) (quoting U.S. v. W.

Pac. RR. Co., 352 U.S. 59, 64 (1956).11


10
   See also A.R. v. Montrose Area Sch. Dist., 2017 U.S. Dist. LEXIS 9695, *11 (M.D.Pa. Jan. 23, 2017)
(defendant “has made no … showing of a strong federal policy favoring exclusive state jurisdiction over
civil rights claims under Title IX” and thus “has not established exceptional circumstances [under Colorado
River] which would compel us to refrain from exercising the duty otherwise imposed upon us by law”);
Cira v. SEPTA, 1989 U.S. Dist. LEXIS 2728, *12 (E.D.Pa. March 22, 1989) (“I conclude that there are no
exceptional circumstances counseling Colorado River type abstention; that the avoidance of piecemeal
litigation is not an important factor to be considered in Section 1983 cases, in which the federal courts enjoy
a particular responsibility of protecting federal civil rights; and that the remedies available in this Section
1983 action might not be similar to those available in the state court action.”).
11
  Compare Maleski v. Conning & Co., 1995 U.S. Dist. LEXIS 14064, *9 (E.D.Pa. Sept. 27, 1995) (noting
that “abstention is appropriate in matters involving determinations by state courts of inherently local matters
on complex state regulatory schemes.”) (citing Burford v. Sun Oil, 319 U.S. at 332-34).

                                                      22
      As in Marks v Stinson, Colorado does not apply because it is not a violation

of a state body of law governing a uniquely state concern, but the Equal Protection,

Due Process, and Electors Clause guaranteed by the Civil Rights Act in a presidential

election.

                    d.     Abstention under Rooker-Feldman Is Inappropriate
                           Contrary To Arguments By Defendant Boockvar

      The only mention of the Rooker-Feldman doctrine appears in Defendant

Boockvar’s MTD (ECF 143, n.1, at 15) and her Reply Brief (ECF 143, at 35). For

the Rooker-Feldman bar to apply, a case must be the functional equivalent of an

appeal from a state court judgment, which it is deemed to be in two instances: (1)

when the claim was actually litigated before the state court; or (2) when the claim is

inextricably intertwined with the state adjudication. ITT Corp. v. Intelnet Int’l Corp.,

366 F.3d 205, 210 (3d Cir. 2004). It is well-established that “[u]nless the federal

claims are identical to the state court claims, determining whether the claims have

been actually litigated is more difficult than determining whether the claims are

inextricably intertwined with the state judgment.” Id., at 211, n.8. “Rooker-Feldman

applies only when in order to grant the federal plaintiff the relief sought, the federal

court must determine that the state court judgment was erroneously entered, or must

take action that would render the state judgment ineffectual.” Parkview Assocs.

Pshp. v. City of Leb., 225 F.3d 321, 325 (3d Cir. 2000); FOCUS, 75 F.3d at 840.

Rooker-Feldman is not implicated because a finding that Defendants violated

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Plaintiffs’ due process rights would not require a finding that the state court erred in

its ruling. Marran, 376 F.3d at 154. See also Ludwig v. Berks County, 313 Fed.Appx.

479, 482 (3d Cir. 2008) (“[A] finding that [doctors] violated [plaintiff’s] due process

rights would not require a finding that the state court erred in relying on their reports.

As in Marran, but Rooker-Feldman is not implicated.”).

      Here, Rooker-Feldman is not implicated because Plaintiffs do not seek to

collaterally appeal any rulings by Pennsylvania courts; instead, they assert that their

federal Constitutional rights have been violated, including under the Equal

Protection Clause. Marran, 376 F.3d at 154. Also, this case is not one where federal

relief can only be predicated upon a conviction that the state court was wrong and

thus Plaintiffs’ claims are not “inextricably intertwined” with the state-court

adjudication. ITT, 366 F.3d at 210. See also Exxon Mobil Corp. v. Saudi Basic Indus.

Corp., 544 U.S. 280, 291 (2005) (holding Rooker-Feldman only applies were “the

losing party in state court filed suit in federal court after the state proceedings ended,

complaining of an injury caused by the state-court judgment and seeking review of

that judgment.”).

             4.     Abstention Under Burford Is Inappropriate Contrary To
                    Arguments By Defendant Boockvar

      The Burford abstention doctrine “stands for the proposition that where a state

creates a complex regulatory scheme, supervised by the state court and central to

state interests, abstention will be appropriate if federal jurisdiction deals primarily

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with state law issues and will disrupt a state’s efforts ‘to establish a coherent policy

with respect to a matter of substantial public concern.’” Lac D’Amiante Du Quebec,

Ltee v. Am. Home Assur. Co., 864 F.2d 1033, 1043 (3d Cir. 1988) (quoting Colorado

River, 424 U.S. at 814) (citing United Servs. Automobile Ass’n v. Muir, 792 F.2d

356, 364 (3d Cir. 1986) (“Generally, Burford abstention is justified where a complex

regulatory scheme is administered by a specialized state tribunal having exclusive

jurisdiction.”), cert. denied, 479 U.S. 1031 (1987)). In addition, “federal courts more

readily abstain from a case that contains no issue of federal law.” Id. at 1044 (citing

Moses H. Cone Mem. Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 26 (1983) (“The

presence of federal-law issues must always be a major consideration weighing

against surrender” of jurisdiction); Izzo v. Borough of River Edge, 843 F.2d 765, 768

(3d Cir. 1988) (“In the years since Burford the presence of a federal issue has become

a significant element in deciding whether a court should abstain.”).

      The Burford abstention does not apply in this case.

      First, this case does not involve “a complex state regulatory scheme …

administered by a state tribunal with exclusive jurisdiction.” Lac D’Amiante, 864

F.2d at 1043-44 (holding Burford applied to state insurance regulatory scheme);

Muir, 792 F.2d at 364 (same). Plaintiffs instead claim that defendants violated their

constitutional rights.

      Second, the case involves questions of federal constitutional law, which


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weighs heavily against abstaining based on Burford. Moses, 460 U.S. at 26; Izzo,

843 F.2d at 768.

             5.     Plaintiffs’ Claims Are Not Barred By Laches Contrary To
                    Arguments By Defendants Boockvar and DNC

                    a.    Dismissal Of Plaintiffs’ Claims Based On Laches Is
                          Not Appropriate At The Pleadings Stage

      The equitable doctrine of laches (like claim and issue preclusion) is an

affirmative defense. At the pleading stage, “plaintiffs must plead the elements of

their claims” and “are not required to negate an affirmative defense in their

complaint.” de Csepel v. Republic of Hungary, 714 F.3d 591, 607–08 (D.C. Cir

2013) (cleaned up); see also Chicago Bldg. Design, P.C. v. Mongolian House, Inc.,

770 F.3d 610, 613–14 (7th Cir. 2014) (“‘[C]omplaints need not … plead around

defenses.’”); Abbas v. Dixon, 480 F.3d 636, 640 (2d Cir. 2007) (same). Dismissal is

appropriate only when the “applicability of the doctrine is apparent from the face of

the Complaint.” Warner v. Sun Ship, LLC, No. CIV.A. 11-7830, 2012 WL 1521866,

at *2 (E.D. Pa. Apr. 30, 2012), aff’d, 507 F. App’x 107 (3d Cir. 2012).

      Defendants cannot meet this standard because Plaintiffs did not

“inexcusabl[y] delay” bringing their complaint – let alone allege such delay on the

face of their complaint. Id. To the contrary, Plaintiffs filed this complaint less than

a week after Election Day, when their injury actually occurred. Plaintiffs’ equal

protection injury did not arise until votes were unequally counted. Counties took


                                          26
different positions on curing before election day, the Secretary did not instruct

counties to allow curing until the night before election day, and counties only

decided (in grossly unequal fashion) which votes to count and which to discard after

election day. Those decisions, and only those, are what trigger the equal protection

violations alleged here. Suppose two voters: (1) a vote-by-mail voter whose ballot is

cancelled due to a defect who is not given any opportunity to cure; and (2) an

identically situated voter whose mail-in ballot is cancelled, who is informed of this

in advance by his county election board, and who casts a provisional ballot on

election day. If the second voter’s provisional ballot is not counted, there is no equal-

protection violation. It is only the decision to cancel the first and count the second

voters’ ballots that violates the Constitution. Plaintiffs brought this suit immediately

once the constitutional violations were ripe. Laches is thus not only a procedurally

improper defense at this stage, but a legally meritless defense at any stage.12

                         b.      Plaintiffs Brought Their Claims As Soon As
                                 Practicable

        Plaintiffs did not know Defendants would violate the law until canvassing

began and the watchers were illegally excluded and ballots illegally counted.

Plaintiffs brought their claims as soon as it was practicable to do so.

                         c.      Plaintiffs’ Post-Election Filing Has Not Prejudiced

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   The Purcell principle – applicable only before an election – has no bearing on post- election Equal
Protection Clause claims, which are regularly litigated after the election. See, e.g., League of Women Voters
of Ohio, 548 F.3d at 466.

                                                     27
                          Defendants

      Assuming arguendo that Plaintiffs delayed by filing post-election, the delay

has not prejudiced Defendants. See, e.g., United States v. L.D.T. Corp., 302 F. Supp.

990, 991 (E.D. Pa. 1969) (rejecting laches defense to government's motion to strike

defendant's jury demand where government waited five years to file its motion but

defendant showed no resulting prejudice from the delay other than the “mere lapse

of time”).

             6.    Plaintiffs Have Not Waived Their Opportunity To Oppose
                   Dismissal

      Plaintiffs have not waived their opportunity to oppose dismissal of their equal

protection and elections and electors clause claims. Defendants argue that Plaintiffs

have yet to substantively oppose any of the arguments they have raised. Defendants’

waiver argument fails because (1) Plaintiffs’ Amended Complaint mooted

Defendants’ motions to dismiss as the Court ruled at oral argument on November

17, 2020; (2) the Court has permitted Plaintiffs to file an opposition brief to all

defendants’ motions to dismiss today; and (3) Plaintiffs substantively opposed

Defendants’ motion to dismiss at the hearing before the Court yesterday. See also

Ryder v. Bartholomew, 2014 U.S. Dist. LEXIS 71839, *4 (M.D. Pa. May 27, 2014)

(plaintiff’s filing of third amended complaint mooted defendants’ motion to

dismiss). The cases cited by Defendants are therefore inapposite and their waiver

argument fails.

                                         28
II.   PLAINTIFFS HAVE STATED AN EQUAL PROTECTION CLAIM
      CONTRARY TO ARGUMENTS BY DEFENDANTS BOOCKVAR,
      DNC AND NORTHAMPTON AND CENTRE COUNTIES ELECTION
      BOARDS

      A.     Counties’ Use Of Notice-And-Cure Procedures For Deficient Mail-
             In Ballots Violated Equal Protection

      Defendants excluded Republican/Trump observers from the canvass so that

they would not observe election law violations. The use of notice/cure procedures

violated equal protection because it was deliberately done in counties where

defendants knew that mail ballots would favor Biden/Democrats.              Republican

controlled counties followed the law and did not allow a cure. Of course, “without

differential treatment of votes or voters, there isn’t any equal-protection injury for

the Court to balance.” Donald J. Trump for President, 2020 U.S. Dist. LEXIS

188390, at *147. Conversely, unequal treatment equals violation of Equal Protection

requiring Court intervention.

      B.     It is A Permissible Remedy For Equal Protection Violations To
             Discard Unlawfully Cast Votes

      Marks v. Stinson specifically allows excluding illegal votes. The district court

in that case found “massive absentee voter fraud, deception, intimidation,

harassment and forgery, and that may of the absentee votes were tainted….” Marks

v. Stinson, 19 F.3d 873, 887 (3d Cir. 1994). The district court held that “[i]n light of

the massive scheme of Candidate Stinson and the Stinson Campaign, and in light of

the failure of the Board to fairly conduct its duties, it would be grossly inequitable

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to allow Stinson to remain in office….” Id. at 878.

       The Third Circuit Court affirmed the district court’s de-certification of

defendant Stinson as the winner of the state senate election, based on the exclusion

of illegally cast ballots:

       The district court did conclude, with ample record support, that the
       wrongdoing [by the Stinson campaign] was substantial, that it could
       have affected the outcome of the election, and that it rendered the
       certified vote count an unreliable indicator of the will of the electorate.
       Having so concluded for the purposes of the preliminary injunction
       motion, we cannot say that the district court abused its discretion in
       restraining Stinson from exercising the powers of the office pendent
       lite.

       The integrity of the election process lies at the heart of any republic.
       The people, the ultimate source of governmental power, delegate to
       their elected representatives the authority to take measures which affect
       their welfare in a multitude of important ways. When a representative
       exercises that authority under circumstances where the electors have no
       assurance that he or she was the choice of the plurality of the electors,
       the legitimacy of the governmental actions taken is suspect.
       Accordingly, where there is substantial wrongdoing in an election, the
       effects of which are not capable of quantification but which render the
       apparent result an unreliable indicium of the will of the electorate,
       courts have frequently declined to allow the apparent winner to exercise
       the delegated power. See, e.g., Bell v. Southwell, 376 F.2d 659 (5th Cir.
       1967). Having tentatively found the facts that it did, we cannot fault the
       district court for restraining Stinson from exercising the powers that are
       delegated to a senator by the people, even though the court was not able
       to find that he received less than a plurality of the legally cast votes.

Id. at 886-87. See also Stein v. Cortes, 223 F.Supp.3d 423, 438 (E.D.Pa. 2016) (“The

(rare) decisions that sustain due process challenges to elections involve documented

instances of improperly cast ballots, wholesale refusal to count properly cast ballots,


                                           30
direct infringements of the right to cast ballots, or a total failure to conduct the

election.”) (citing Marks, 19 F.3df at 887) (“massive absentee ballot fraud,

deception, intimidation, harassment and forgery”); Griffin [v. Burns, 570 F.2d 1065,

1074 (1st Cir. 1978)] (state refused to count “the absentee and shut-in ballots that

state officials had offered to the voters); Golden v. Gov’t of the V.I., 2005 U.S. Dist.

LEXIS 45967, *8-9 (D.V.I. March 1, 2005) (“If a candidate were to be sworn in as

an elected representative who received fewer votes than another candidate, then each

of the votes cast for the other candidate would be ignored,” which “would violate

the constitutionally protected right to vote of those voters who had voted for the

candidate who received the most votes, but was not seated.”) (citing Marks, 19 F.3d

at 887).

III.   DEFENDANTS DO NOT HAVE AN ELEVENTH
       AMENDMENT/SOVEREIGN IMMUNITY DEFENSE CONTRARY
       TO ARGUMENTS BY DEFENDANT DNC

       DNC Defendants have asserted an Eleventh Amendment/sovereign immunity

defense.

       First, the Eleventh Amendment “does not apply to Plaintiffs’ federal-

constitutional claims [in this case] under the Ex Parte Young doctrine.” Donald J.

Trump for President, 2020 U.S. Dist. LEXIS 188390, at *225-26 (quoting Acosta v.

Democratic City Comm., 288 F. Supp. 3d 597, 627 (E.D. Pa. 2018) (“Here, the

doctrine of Ex parte Young applies to Plaintiffs’ constitutional claims for prospective


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injunctive and declaratory relief, and therefore the First and Fourteenth Amendment

claims are not barred by the Eleventh Amendment.…”) (citing Ex Parte Young, 209

U.S. 123, 159-60 (1908)). All of Plaintiffs’ claims in this case are based on the

federal Constitution; therefore, they are not barred by the Eleventh Amendment. Id.

      Second, “an officer of the Pennsylvania Department of State … may be sued

in his individual and official capacities for prospective injunctive and declaratory

relief to end continuing or ongoing violations of federal law,” which claims are not

barred by the Eleventh Amendment. Donald J. Trump, 2020 U.S. Dist. LEXIS

188390, at *225-26 (quoting Acosta v. Democratic City Comm., 288 F. Supp. 3d

597, 627 (E.D. Pa. 2018) (internal quotation marks omitted). Plaintiffs’ claims in

this case seek prospective and injunctive relief; therefore, the Eleventh Amendment

does not bar Plaintiffs’ claims against defendant Boockvar.

      Third, “Eleventh Amendment does not extend its immunity to units of local

government,” such as “cities and counties.” Bd. of Trustees v. Garrett, 531 U.S. 356,

368-69 (2001) (citations omitted). The defendant county boards of elections in this

case are local governmental units, which are not entitled to sovereign immunity

under the Eleventh Amendment. Id. See also PG Publ. Co. v. Aichele, 902 F.Supp.2d

724, 746 (W.D.Pa. 2012) (holding Allegheny County was not entitled to Eleventh

Amendment immunity) (citing Garrett, 531 U.S. at 369).

IV.   ELECTION RULES CREATED BY THE GENERAL ASSEMBLY
      AND IMPLEMENTED BY THE COUNTIES SHOULD BE
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      STRICTLY ADHERED TO

      As in Bush v. Gore, the people administering the elections should have

followed the law. There should have been strict adherence with election rules created

by the General Assembly and implemented by the counties and, unfortunately, this

was not the case. Plaintiffs are stating, very simply, that laws must be followed and

uniform treatment meted out. Defendants excluded Republican/Trump observers

from the canvass so they could not observe election law violations; the use of

notice/cure procedures violated equal protection because it was deliberately done in

counties where Defendants knew mail ballots would favor Biden/Democrats.

Republican controlled counties followed the law and did not allow cures; invalid

ballots were not counted. Democrats should have done the same.

                                 CONCLUSION

      For the foregoing reasons, Defendants Motions to Dismiss the First Amended

Complaint should be denied.



                                       Respectfully submitted,

                                       /s/ Marc A. Scaringi
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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR                   :
PRESIDENT, INC., et al,               : CIVIL ACTION
                                      :
      Plaintiffs                      : No. 4:20-cv-02078
                                      :
      v.                              : Judge Brann
                                      :
KATHY BOOCKVAR, et al,                :
                                      :
      Defendants                      :

                        CERTIFICATE OF SERVICE

      I, Deborah A. Black, Paralegal for Scaringi Law, do hereby certify that I

served a true and correct copy of Plaintiffs’ Omnibus Opposition to Motions to

Dismiss The First Amended Complaint (ECF 125) in the above-captioned action,

upon all parties via CM/ECF.




Date: November 18, 2020               /s/ Deborah A. Black____________
                                      Deborah A. Black, Paralegal
                                      For Marc A. Scaringi, Esquire and
                                      Brian C. Caffrey, Esquire
